4:09-cr-03117-RGK-CRZ          Doc # 213     Filed: 11/01/10     Page 1 of 1 - Page ID # 1792




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )                     4:09CR3117
                                              )
              v.                              )
                                              )
TRAVES RUSH,                                  )           ORDER ON MOTION FOR
                                              )          APPOINTMENT OF COUNSEL
                      Defendants.             )
                                              )


       Inasmuch as this matter is on appeal to the Eighth Circuit Court of Appeals, the Motion for
Appointment of Counsel is referred to the Eighth Circuit Court of Appeals. The clerk of the court
shall send a copy of this order to Traves Rush, Saline County Law Enforcement Center, P.O. Box
911, Wilber, Nebraska 68465.
       Dated November 1, 2010.

                                     BY THE COURT

                                     s/ Warren K. Urbom
                                     United States Senior District Judge
